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          CALIFORNIA ◆GEORGIA ◆FLORIDA ◆TENNESSEE ◆NEW YORK




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                                                                                         UNITED STATES DISTRICT COURT
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                                                               13                      CENTRAL DISTRICT OF CALIFORNIA
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                                                                    VPR BRANDS, LP,                              Case No.: 2:21-cv-01116 JWH(MRWx)
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                                                               17                         Plaintiff, MEMORANDUM IN SUPPORT OF
                                                               18                                    PLAINTIFF’S MOTION TO
                                                                    v.                               VOLUNTARILY DISMISS CLAIMS
                                                               19                                    WITHOUT PREJUDICE
                                                               20   COOL CLOUDS DISTRIBUTION,
                                                                    INC.,                             Date: June 17, 2022
                                                               21                                     Time: 9:00 a.m.
                                                               22                       Defendant. Ctrm: Courtroom 2
                                                               23                                     Judge: Hon. John W. Holcomb

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                                                               25 I.     INTRODUCTION
                                                               26        Plaintiff VPR Brands, LP (“VPR” or “Plaintiff”) respectfully requests that this
                                                               27 Court voluntarily dismiss the claims without prejudice, pursuant to Federal Rule of
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                                                                 1 Civil Procedure 41(a)(2). A dismissal without prejudice would not cause Cool Clouds
                                                                 2 Distribution, Inc. (“CC” or “Cool Clouds”) any prejudice.
                                                                 3 II.    THE CURRENT SCHEDULE
                                                                 4        On April 25, 2022, this Court set a Status Conference for May 20, 2022. (ECF
                                                                 5 49). There are currently no other deadlines as Defendant has not obtained new counsel
                                                                 6 and their answer (ECF 15) had been stricken. (ECF 40).
                                                                 7 III.   HISTORY OF THE CASE
                                                                 8        On December 19, 2021, Cool Cloud’s prior counsel moved to withdraw his
                                                                9 representation of Defendant. (ECF 35). On January 20, 2022, this Court granted
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                                                               10 counsel’s motion. (ECF 40). On March 21, 2022, Cool Cloud’s prior counsel filed
                                                               11 proof of service with the Court that Cool Clouds had been served with counsel’s
                                                               12 motion to withdraw as counsel of record. (ECF 43). Approximately four weeks later,
                                                               13 after Cool Clouds had not retained new counsel, Plaintiff moved to dismiss the action
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                                                               14 without prejudice because Cool Clouds’ answer had been stricken. (ECF 40, 46). The
                                                               15 Court denied the motion on April 23, 2022. (ECF 48). On April 25, 2022, this Court
                                                               16 scheduled a Status Conference for May 20, 2022. (ECF 49).
                                                               17 IV.     FACTUAL BACKGROUND
                                                               18         Plaintiff filed this matter on February 8, 2021. (ECF 1). Cool Clouds filed its
                                                               19 answer to the complaint on May 27, 2021. (ECF 15). This Court set the civil trial
                                                               20 schedule on August 23, 2021. (ECF 24).
                                                               21         In December, Cool Clouds’ prior counsel informed Plaintiff’s counsel that
                                                               22 starting in approximately October 2021, he had been unable to get in touch with his
                                                               23 client. (Declaration of Jonah Grossbardt (“Grossbardt Decl.”) ¶ 2). Mr. Chen informed
                                                               24 us that he planned on withdrawing as counsel because it became impossible to
                                                               25 represent Cool Clouds because they disappeared and were nonresponsive. (Grossbardt
                                                               26 Decl. ¶ 3). Plaintiff’s counsel agreed and did not oppose InHouse, Co. withdrawing as
                                                               27 counsel. (ECF 35-36).
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                                                                 1         After Cool Clouds was served with the motion to withdraw as counsel from
                                                                 2 InHouse, Co., Cool Clouds never retained a new attorney and has not since responded
                                                                 3 to Plaintiff or the Court.
                                                                 4         Plaintiff’s counsel conducted research and determined that Cool Clouds no
                                                                 5 longer exists. (Grossbardt Decl. ¶ 6). It appears that Cool Clouds has been suspended
                                                                 6 as a California Corporation as December 28, 2021. (Grossbardt Decl. ¶ 6).
                                                                 7 V.      LEGAL STANDARD
                                                                 8         Rule 41(a)(2) allows the Court to voluntarily dismiss a plaintiff’s claim “on
                                                                 9 terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2).
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                                                               10          “A court should grant a Rule 41(a)(2) motion for voluntary dismissal without
                                                               11 prejudice unless the defendant will ‘suffer clear legal prejudice, other than the
                                                               12 prospect of a subsequent suit on the same facts.” Kohler v. Mira Mesa Marketplace
                                                               13 West, LLC, 2007 WL 4538621 at * 2 (S.D. Cal. December 19, 2007); see also
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                                                               14 Andrews v . Plains All American Pipeline, LP, 2020 WL 6204553 at * 1 (C.D. Cal.
                                                               15 September 23, 2020).
                                                               16          A.    Cool Clouds will Not Suffer Legal Prejudice from VPR’s Dismissal.
                                                               17          “Legal prejudice” is the standard for whether a Rule 41(a)(2) voluntary
                                                               18 dismissal should be granted. Westlands Water Dist. v. United States, 100 F.3d 94, 96
                                                               19 (9th Cir. 1996). Cool Clouds bears the burden to demonstrate that it will suffer “plain
                                                               20 legal prejudice” as a result of the VPR’s dismissal. See Munro v. Univ. of S. Cal., No.
                                                               21 16-06191, 2019 WL 4575844 at *2 (C.D. Cal. July 2, 2019) “Legal prejudice” is
                                                               22 “prejudice to some legal interest, some legal claim, [or] some legal argument,” and
                                                               23 focuses on “the rights and defenses available to a defendant in future litigation.”
                                                               24 Westlands, 100 F.3d at 97.
                                                               25          It is not the same thing as practical prejudice, like fees associated with work
                                                               26 performed defending the movant’s claims. Id. Examples of plain legal prejudice
                                                               27 include “whether a dismissal without prejudice would result in the loss of a federal
                                                               28 forum, or the right to a jury trial, or a statute-of-limitations defense [for defendant].”


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                                                                 1 Id. “In the Ninth Circuit, legal prejudice results when a defendant is deprived of a
                                                                 2 federal forum, the right to a jury trial, or a statute of limitations defense.” Id.
                                                                 3         Cool Clouds cannot satisfy this burden because no prejudice to a legal interest
                                                                 4 is present here. The Ninth Circuit has made clear, dismissal without prejudice is
                                                                 5 patently appropriate because the mere “prospect of a second lawsuit” will not
                                                                 6 constitute legal prejudice. Hamilton v. Firestone Tire and Rubber Co., Inc., 679 F.2d
                                                                 7 143, 145 (9th Cir. 1982). No plain legal prejudice will result from the VPR’s
                                                                 8 voluntary dismissal without prejudice pursuant Rule 41(a)(2). Cool Clouds no longer
                                                                 9 exists, and it has failed to litigate its case by refusing to retain new counsel.
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                                                               10 VI.      CONCLUSION
                                                               11          VPR respectfully request that this Court grant its request to voluntarily dismiss
                                                               12 its claims without prejudice or conditions.
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                                                               14 DATED: May 16, 2022                        Respectfully submitted,
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                                                               16                                            /s/ Jonah A. Grossbardt
                                                                                                             JONAH A. GROSSBARDT
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                                                                                                             MATTHEW L. ROLLIN
                                                               18                                            SRIPLAW
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